EXHIBIT L
Wu, Xiaoli (Lily)

From:                              Jason Johnson <JJohnson@ByrdCampbell.com>
Sent:                              Friday, February 18, 2022 11:12 AM
To:                                Sullivan, Brady M.; Andrew Domingoes
Cc:                                Min Cho; Tucker Byrd; Korn, Jeffrey; Gottlieb, Michael; Keevil, Pia Williams
Subject:                           RE: Interamerican/PDVUSA- discovery call



                                            *** EXTERNAL EMAIL ***

Brady,

Your presumption of our knowledge of Mr. Gorrin is incorrect.

I have absolutely no idea who Mr. Gorrin is, how wealthy he is, what business he is in or whether he is, indeed, a fugitive
from justice. I have never met, talked to, researched or even Googled the man.

Simply put, we have been advised that he was retained as counsel for Interamerican, and that an engagement letter was
executed for this representation. Accordingly, we have withheld from production as privileged all communications
between Mr. Gorrin and Interamerican. We are trying to locate the engagement letter. Once I am in receipt, we will
review for any claim of privilege, and either produce it or include it in a privilege log, as appropriate.

Jason


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Florida Supreme Court Certified Circuit Mediator
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to sender and delete this message and all copies and backups thereof.


From: Sullivan, Brady M. <BSullivan@willkie.com>
Sent: Thursday, February 17, 2022 9:57 PM
To: Jason Johnson <JJohnson@ByrdCampbell.com>; Andrew Domingoes <ADomingoes@ByrdCampbell.com>
Cc: Min Cho <mcho@ByrdCampbell.com>; Tucker Byrd <tbyrd@ByrdCampbell.com>; Korn, Jeffrey
<JKorn@willkie.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Keevil, Pia Williams <pkeevil@willkie.com>
Subject: RE: Interamerican/PDVUSA‐ discovery call

Jason, Andrew,

I write to memorialize one aspect of our meet and confer earlier today. (We will follow up with respect to the other
items discussed.) Specifically, you confirmed that Interamerican has been withholding, and intends to continue to
withhold, communications between Interamerican and its principal, David Rivera, on the one hand, and Raúl Gorrín. As
you presumably know, Mr. Gorrín is a Venezuelan billionaire businessman that currently serves as the President of
Globovisión and La Vitalicia insurance company. He is also a fugitive from justice accused of participating in an
international bribery and money laundering scheme.

As you explained, Interamerican’s position is that Mr. Gorrín executed an engagement letter in 2017 with Interamerican.
You further explained that Mr. Gorrín provided legal services to Interamerican in connection with its Agreement with
PDV USA, which is the Agreement that is at issue in this litigation. You also stated that Mr. Gorrín has continued to
provide legal services to Interamerican at least into 2020 in connection with this case, including in connection with
Interamerican’s motion to dismiss in this case in late 2020.

If any of the above is incorrect, please let me know and provide any appropriate clarification.

We fail to understand how Mr. Gorrín, who is not qualified to practice law in the United States, including in New York,
could have offered privileged legal advice to Mr. Rivera regarding the terms of a contract governed by New York law, or
the composition of a motion to dismiss raising no issues of Venezuelan law. To the extent Mr. Gorrin and Mr. Rivera
were discussing their factual recollections or perceptions regarding the contract in question, that would plainly fall
outside of the scope of the attorney client privilege.

In any event, we demand that you produce the engagement letter with Mr. Gorrín that you described during our meet
and confer. This should have been produced already in response to our First Requests for Production, including RFP Nos.
1, 2, 10, and 11. Engagement letters are not privileged. See, e.g., Cesari S.r.l. v. Peju Province Winery L.P., 2019 WL
5460379, at *1 (S.D.N.Y. Oct. 4, 2019).


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It should also go without saying, but to the extent that any of the communications you are withholding were produced
to the U.S. Government (whether in response to a subpoena or otherwise), any purported claim to an attorney‐client
privilege would be waived. See, e.g., In re Qwest Commc'ns Int'l Inc., 450 F.3d 1179, 1187 (10th Cir. 2006) (privilege
waived because documents were produced to the government); In re John Doe Corp., 675 F.2d 482, 489 (2d Cir. 1982).

Regards,
Brady


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From: Andrew Domingoes <ADomingoes@ByrdCampbell.com>
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To: Sullivan, Brady M. <BSullivan@willkie.com>; Jason Johnson <JJohnson@ByrdCampbell.com>
Cc: Min Cho <mcho@ByrdCampbell.com>; Tucker Byrd <tbyrd@ByrdCampbell.com>; Korn, Jeffrey
<JKorn@willkie.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Keevil, Pia Williams <pkeevil@willkie.com>
Subject: RE: Interamerican/PDVUSA‐ discovery call

                                               *** EXTERNAL EMAIL ***

Thank you

From: Sullivan, Brady M. <BSullivan@willkie.com>
Sent: Wednesday, February 16, 2022 9:35 AM
To: Andrew Domingoes <ADomingoes@ByrdCampbell.com>; Jason Johnson <JJohnson@ByrdCampbell.com>
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<JKorn@willkie.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Keevil, Pia Williams <pkeevil@willkie.com>
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Thanks Andrew. 4 pm tomorrow works. I’ll circulate a dial in.

Regards,
Brady


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From: Andrew Domingoes <ADomingoes@ByrdCampbell.com>
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Subject: RE: Interamerican/PDVUSA‐ discovery call

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